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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Case No.: 22-CR-149 (JEB)
Vv. 40 U.S.C. §5104(e)(2)(G)
ATHANASIOS ZOYGANELES,
Defendant.

STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, ATHANASIOS
ZOYGANELES, with the concurrence of his attorney, agree and stipulate to the below factual
basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties
stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

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Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session
began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

5. At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter or
remain in the building and, prior to entering the building, no members of the crowd submitted to
security screenings or weapons checks as required by USCP officers or other authorized security
officials.

6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.

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7. Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

ATHANASIOS ZOYGANELES?’s Participation in the January 6, 2021, Capitol Riot

8. The defendant, ATHANASIOS ZOYGANELES, lives in Chicago, Illinois. The
defendant began planning his trip to Washington, D.C. in at least December 2020. On December
12, 2020, the defendant made the following post, “If biden gets elected. Thats when shit gets real.]
will be planning on going to Washington D.C. So much for my trip to Vegas but my country is
more important 1/20/21.” On December 22, 2020, the defendant made the following Facebook
status, “This is what needs to happen in Washington D.C.on the 6" just rush Capital hill. They can’t
stop a million people. We the people are in charge.Not our evil government.” On December 26,
2020, the defendant replied to another user’s comment stating, “hell no the game not over.The
people are storming Washington D.C on the 6".”

9. On January 4, 2021, the defendant left Chicago, Illinois with another individual and

drove to Washington, D.C., arriving on January 5, 2021. On the day of his arrival, he attended the

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Stop the Steal rally. The purpose of the defendant’s trip to Washington, D.C., was to protest
Congress’ certification of the Electoral College.

10. On January 5, 2021, at approximately 11:58 p.m., the defendant commented on a
Facebook post stating, “We need to take over capital hill.” On January 6, 2021 at approximately
12:01 a.m., defendant commented on another Facebook user’s live video stating, “we need to take
over the capital building tomorrow.”

11. On January 6, 2021, the defendant entered the restricted grounds of the Capitol and
walked up the stairs under the inaugural scaffolding towards the Parliamentarian doors. Prior to
entering the Capitol building, defendant stood on the stairs in front of the Parliamentarian doors
holding a piece of wood. At approximately 2:46 p.m., the defendant entered the U.S. Capitol
building via the Parliamentarian doors and proceeded to smoke a cigarette inside. Also, while
inside, the defendant took videos and/or photographs and went inside the rooms on either side of
the hallway. The defendant exited the Capitol building via the Parliamentarian doors at
approximately 2:51 p.m.

12. On January 6, 2021, a Facebook user asked the defendant “R U OK” to which the
defendant replied, at approximately 4:39 p.m., “No I rushed the capital and lost everyone I was
with{.]” Later in the conversation, the defendant told the same user, “No im done i was teargassed
maced and they were throwing flash bangs at me but I still stayed on the front lines.It wasn’t easy
but we did it.”

13. In the days following his breach of the Capitol, the defendant made several
Facebook posts and messages regarding January 6, 2021. On January 7, 2021, the defendant made
a Facebook comment stating, “The only violence I saw was the cops shooting people with bean

bags spraying mace.Releasing tear gas on the people and beating them with billyclubs.” On the

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same day, the defendant also made a comment to a post saying, “They are trying to remove Trump
anyway they can.The people showed the government.That we will take u out if needed.Are u
happy?Y our vote dont mean shit no more.] don’t wanna hear garbage like that.”

14. On January 8, 2021, the defendant replied to a comment and stated, “Yea I was
busy at the capital building.” On January 15, 2021, a Facebook user asked the defendant how was
his trip to Washington, D.C., and the defendant replied, “fun and exciting.”

15. On April 2, 2021, the defendant posted to Facebook an article about two officers
being killed after a vehicle rammed the barricade outside of the U.S. Capitol. The defendant
included the following text to the post, “Being a capital police officer is a dangerous job.Now that

the people know. We have an evil government.”

Elements of the Offense

16. ATHANASIOS ZOYGANELES knowingly and voluntarily admits to all the
elements of 40 U.S.C. §5104(e)(2)(G). Specifically, defendant admits that he willfully and
knowingly entered the U.S. Capitol Building knowing that that he did not have permission to do
so. Defendant further admits that while inside the Capitol, defendant willfully and knowingly
paraded, demonstrated, or picketed.

Respectfully submitted,
MATTHEW M. GRAVES

United States Attorney
D.C. Bar No. 481052

By: /s/ Maria Y. Fedor
MARIA Y. FEDOR

D.C. Bar No. 985823

Attorney, detailed to

United States Attorney’s Office
for the District of Columbia

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DEFENDANT’S ACKNOWLEDGMENT

I, ATHANASIOS ZOYGANELES, have read this Statement of the Offense and have
discussed it with my attorney. I fully understand this Statement of the Offense. | agree and
acknowledge by my signature that this Statement of the Offense is true and accurate. | do this
voluntarily and of my own free will. No threats have been made to me nor am I under the influence
of anything that could impede my ability to understand this Statement of the Offense fully.

Date: (| 7 Qe

ATHANASIOS ZOYGANELES
Defendant

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. | concur
in my client's desire to adopt this Statement of the Offense as true and accurate.

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Allen H. Orenberg
Attorney for Defendant

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